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                             Ampelia Barragan
                          15
                          16                            UNITED STATES DISTRICT COURT
                                                       CENTRAL DISTRICT OF CALIFORNIA
                          17
                          18                                                  Case No.:
                                      AMPELIA BARRAGAN,
                          19
                                                    Plaintiff,                COMPLAINT FOR DAMAGES FOR
                          20                                                  VIOLATIONS OF:
                                                           v.
                          21
                                      ANAYA LAW GROUP,                         I.     THE FAIR DEBT
                          22                                                          COLLECTION PRACTICES
                                                   Defendant.                         ACT, 15 U.S.C. § 1692, ET
                          23
                                                                                      SEQ.; AND,
                          24
                                                                              II.     NEGLIGENCE
                          25
                          26                                                  JURY TRIAL DEMANDED
                          27 ///
                          28 ///

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                                 1                                       INTRODUCTION
                                 2 1.   The United States Congress has found abundant evidence of the use of abusive,
                                 3      deceptive, and unfair debt collection practices by many debt collectors, and has
                                 4      determined that abusive debt collection practices contribute to the number of
                                 5        personal bankruptcies, to marital instability, to the loss of jobs, and to invasions
                                 6        of individual privacy. Congress wrote the Fair Debt Collection Practices Act,
                                 7        15 U.S.C. § 1692 et seq., to eliminate abusive debt collection practices by debt
                                 8        collectors, to ensure that those debt collectors who refrain from using abusive
                                 9        debt collection practices are not competitively disadvantaged, and to promote
                           10             consistent State action to protect consumers against debt collection abuses.
                           11 2.   Plaintiff AMPELIA BARRAGAN (“Plaintiff”) through Plaintiff’s attorneys,
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                                   brings this lawsuit to challenge the actions of Defendant ANAYA LAW
                           13             GROUP with regard to attempts by Defendant, a debt collector, to unlawfully
                           14             and abusively collect a debt allegedly owed by Plaintiff, and this conduct caused
                           15             Plaintiff damages.
                           16 3.   Plaintiff makes these allegations on information and belief, with the exception
                           17             of those allegations that pertain to a Plaintiff, or to a Plaintiff's counsel, which
                           18             Plaintiff alleges on personal knowledge.
                           19 4.   While many violations are described below with specificity, this Complaint
                           20             alleges violations of the statutes cited in their entirety.
                           21 5.   Unless otherwise stated, Plaintiff alleges that any violations by Defendant were
                           22             knowing and intentional, and that Defendant did not maintain procedures
                           23             reasonably adapted to avoid any such violation.
                           24 6.   Unless otherwise indicated, the use of any Defendant’s name in this Complaint
                           25             includes all agents, employees, officers, members, directors, heirs, successors,
                           26             assigns, principals, trustees, sureties, subrogees, representatives, and insurers of
                           27             that Defendant named.
                           28
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                                 1                                  JURISDICTION AND VENUE
                                 2 7.   Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331, 15 U.S.C. §
                                 3      1692(k), and 28 U.S.C. § 1367 for supplemental state claims.
                                 4 8.   This action arises out of Defendant’s violations of: (i) the Fair Debt Collection
                                 5        Practices Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”); (ii) negligence.
                                 6 9.   Because Defendant conducts business within the State of California, personal
                                 7       jurisdiction is established.
                                 8 10.   Venue is proper in the United States District Court, Central District of
                                 9       California pursuant to 28 U.S.C. § 1391 for the following reasons: (i) the Parties
                           10             reside in this judicial district; and, (ii) the conduct complained of herein
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                                          occurred within this judicial district; and, (iii) Defendant conducted business in
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                                          this judicial district at all times relevant.
                           13 11.   At all times relevant, Defendant conducted business within the State of
                           14             California.
                           15                                                 PARTIES
                           16 12.   Plaintiff is a natural person who resides in the County of Los Angeles, State of
                           17             California from whom debt collectors sought to collect a consumer debt which
                           18             was due and owing or alleged to be due and owing from Plaintiff, and is a
                           19             “consumer” as that term is defined by 15 U.S.C. § 1692(a)(3).
                           20 13.   Plaintiff is informed and believes, and thereon alleges, that Defendant is a debt
                           21             collection law firm operating from the County of Los Angeles, State of
                           22             California.
                           23 14.   Plaintiff is informed and believes, and thereon alleges, that Defendant, in the
                           24             ordinary course of business, regularly, on behalf of themselves or others,
                           25             engage in debt collection as that term is a “debt collector” as that term is defined
                           26             by 15 U.S.C. § 1692a(6).
                           27
                           28
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                                 1 15.   This case involves money, property or their equivalent, due or owing or alleged
                                 2       to be due or owing from a natural person by reason of a consumer credit
                                 3       transaction. As such, this action arises out of a “debt” as that term is defined
                                 4        by 15 U.S.C. 1692a(5).
                                 5                                 FACTUAL ALLEGATIONS
                                 6 16.   At all times relevant, Plaintiff is an individual residing within the State of
                                 7       California.
                                 8 17.   Plaintiff is informed and believes, and thereon alleges, that at all times relevant,
                                 9        Defendant conducted business in the State of California.
                           10 18.   Sometime prior to 2015, Plaintiff’s ex-husband, J. Natividad Barragan (“Mr.
                           11
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                                    Barragan”), is alleged to have incurred certain financial obligations to the
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                                    original creditor, Western Federal Credit Union, that were money, property, or
                           13             their equivalent, which are due or owing, or alleged to be due or owing, from a
                           14             natural person to another person and were therefore “debt(s)” as defined above.
                           15 19.   Mr. Barragan allegedly fell behind in the payments allegedly owed on the
                           16             alleged debt at some point thereafter.
                           17 20.   Subsequently, Mr. Barragan’s alleged debt was assigned, placed, or otherwise
                           18             transferred to Defendant to engage in collection activity.
                           19 21.   Plaintiff and Mr. Barragan separated in April 2015.
                           20 22.   Thereafter, Defendant filed a lawsuit to collect the debt in the Norwalk Superior
                           21             Court, court case no.: 15N16343 entitled Western Federal Credit Union v. J.
                           22             Natividad Barragan on November 9, 2015 (the “Collection Action”).
                           23 23.   Plaintiff did not incur any portion of the debt at issue in the Collection Action.
                           24 24.   Plaintiff did not benefit from any portion of the debt at issue in the Collection
                           25             Action.
                           26 25.   The debt at issue in the Collection Action was Mr. Barragan’s separate property.
                           27 26.   As such, Plaintiff was not a named defendant in the Collection Action.
                           28
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                                 1 27.   Thereafter, Defendant obtained a default judgment against Mr. Barragan on
                                 2       February 9, 2016.
                                 3 28.   Defendant sought to enforce this judgment against Plaintiff’s separate bank
                                 4       account via Writ of Execution dated March 22, 2017.
                                 5 29.   Plaintiff received a Notice of Levy from Plaintiff’s bank, Premier America
                                 6       Credit Union, dated April 6, 2017.
                                 7 30.   Pursuant to this Notice, the Los Angeles County Sheriff levied $4,521.98 from
                                 8        Plaintiff’s separate bank account.
                            9 31.   Mr. Barragan was not associated with Plaintiff’s Premier America Credit Union
                           10       account in any way.
                           11 32.   Mr. Barragan did not deposit any of Mr. Barragan’s money in Plaintiff’s
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                                          Premier America Credit Union account.
                           13 33.   The funds in Plaintiff’s Premier America Credit Union account were obtained
                           14             by Plaintiff after Plaintiff separated from Mr. Barragan.
                           15 34.   The funds in Plaintiff’s Premier America Credit Union account were solely
                           16             Plaintiff’s separate property.
                           17 35.   Thus, Plaintiff retained the Law Offices of Gilbert Rodriguez to assist Plaintiff
                           18             in response to this levy.
                           19 36.   Plaintiff, through Mr. Rodriguez, filed a Claim of Exemption on April 18, 2017.
                           20 37.   On June 6, 2017, the Honorable Thomas D. Long granted Plaintiff’s Claim of
                           21             Exception as follows:
                           22                 The Judgment Debtor’s claim of exemption (Bank Levy) is
                                              granted. The Levying Officer is directed to release any monies
                           23                 held to the Judgment Debtor forthwith. The Levying Officer is
                           24                 to notify the Financial Institution. The Clerk is to give notice
                                              to all Parties.
                           25
                                     38.   Despite this Order, Defendant has continued to pursue Plaintiff for Mr.
                           26
                                          Barragan’s debt with said collection activity continuing as of the date of this
                           27
                                          filing.
                           28
                                     Case #                                    4 of 8             Barragan v. Anaya Law Group
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                                 1 39.   Through this conduct, Defendant violated 15 U.S.C. § 1692d by engaging in
                                 2       conduct the natural consequence of which is to harass, oppress and abuse
                                 3       Plaintiff in connection with the collection of Plaintiff’s alleged debt. This
                                 4        section is also incorporated into the RFDCPA through Cal. Civ. Code §
                                 5        1788.17; thus, Defendant also violated Cal. Civ. Code § 1788.17.
                                 6 40.   Through this conduct, Defendant violated 15 U.S.C. § 1692e by using false,
                                 7       deceptive, and misleading representations in connection with the collection of
                                 8       Plaintiff’s alleged debt. This section is also incorporated into the RFDCPA
                                 9        through Cal. Civ. Code § 1788.17; thus, Defendant also violated Cal. Civ. Code
                           10             § 1788.17.
                           11 41.   Through this conduct, Defendant violated 15 U.S.C. § 1692e(2)(A) by falsely
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                                    representing the character and legal status of Plaintiff’s alleged debt. This
                           13             section is also incorporated into the RFDCPA through Cal. Civ. Code §
                           14             1788.17; thus, Defendant also violated Cal. Civ. Code § 1788.17.
                           15 42.   Through this conduct, Defendant violated 15 U.S.C. § 1692e(5) by taking an
                           16             action that cannot legally be taken. This section is also incorporated into the
                           17             RFDCPA through Cal. Civ. Code § 1788.17; thus, Defendant also violated Cal.
                           18             Civ. Code § 1788.17.
                           19 43.   Through this conduct, Defendant violated 15 U.S.C. § 1692e(10) by using false
                           20             representations or deceptive means to collect or attempt to collect monies not
                           21             owed by Plaintiff. This section is also incorporated into the RFDCPA through
                           22             Cal. Civ. Code § 1788.17; thus, Defendant also violated Cal. Civ. Code §
                           23             1788.17.
                           24 44.   Through this conduct, Defendant violated 15 U.S.C. § 1692f by using unfair or
                           25             unconscionable means to collect or attempt to collect an alleged debt not owed
                           26             by Plaintiff. This section is also incorporated into the RFDCPA through Cal.
                           27             Civ. Code § 1788.17; thus, Defendant also violated Cal. Civ. Code § 1788.17.
                           28
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                                 1 45.   Through this conduct, Defendant violated 15 U.S.C. § 1692f(1) through the
                                 2       collection of an amount that was not expressly authorized by the agreement
                                 3       creating the alleged debt or permitted by law. This section is also incorporated
                                 4        into the RFDCPA through Cal. Civ. Code § 1788.17; thus, Defendant also
                                 5        violated Cal. Civ. Code § 1788.17.
                                 6 46.   As a result of the illegal conduct described herein, Plaintiff has suffered severe
                                 7       emotional distress.
                                 8 47.   Moreover, Plaintiff has been deprived of funds by Defendant pursuant to an
                                 9        illegal levy.
                           10 48.   As a result of Defendant’s conduct, Plaintiff has been forced to retain the
                           11
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                                    services of multiple attorneys to protect Plaintiff’s interest.
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                                                  CAUSES OF ACTION CLAIMED BY PLAINTIFF
                           13                                              COUNT I
                           14                   VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT
                           15                               15 U.S.C. §§ 1692-1692(p) (FDCPA)
                           16                                   [AGAINST ALL DEFENDANTS]
                           17 49.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                           18             as though fully stated herein.
                           19 50.   The foregoing acts and omissions constitute numerous and multiple violations
                           20             of the FDCPA.
                           21 51.   As a result of each and every violation of the FDCPA, Plaintiff is entitled to
                           22             any actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages for
                           23             a knowing or willful violation in the amount up to $1,000.00 pursuant to 15
                           24             U.S.C. § 1692k(a)(2)(A); and reasonable attorney’s fees and costs pursuant to
                           25             15 U.S.C. § 1692k(a)(3) from Defendant.
                           26
                           27
                           28
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                                 1                                           COUNT II
                                 2                                          NEGLIGENCE
                                 3                                 [AGAINST ALL DEFENDANTS]
                                 4 52.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                                 5       as though fully stated herein.
                                 6 53.   Plaintiff believes and thereon alleges that Defendant owed various duties to
                                 7        Plaintiff pursuant to the FDCPA. Specifically, Defendant owed a duty to
                                 8        Plaintiff with regard to its manner of debt collection practices.
                            9 54.   Defendant breached Defendant’s duties by engaging in the acts described herein
                           10       each in violation of the FDCPA.
                           11 55.   Plaintiff asserts that Defendant is the actual and legal cause of Plaintiff’s
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                                          injuries.
                           13 56.   Plaintiff believes and thereon alleges that as a proximate result of Defendant’s
                           14             negligence, Plaintiff has suffered severe emotional distress.
                           15 57.   Due to the egregious violations alleged herein, Plaintiff asserts that Defendant
                           16             breached Defendant’s duties in an oppressive, malicious, despicable, gross and
                           17             wantonly negligent manner. As such, said conduct establishes Defendant’s
                           18             conscious disregard for Plaintiff’s rights and entitles Plaintiff to recover
                           19             punitive damages from Defendant.
                           20                                           PRAYER FOR RELIEF
                           21 WHEREFORE, Plaintiff prays that judgment be entered against Defendant for:
                           22                 •   An award of actual damages, in an amount to be determined at trial,
                           23                    pursuant to 15 U.S.C. § 1692k(a)(1), against Defendant
                           24                 •   An award of statutory damages of $1,000.00, pursuant to 15 U.S.C. §
                           25                    1692k(a)(2)(A), against Defendant;
                           26                 •   An award of costs of litigation and reasonable attorney’s fees, pursuant to
                           27                    15 U.S.C. § 1692k(a)(3), against Defendant;
                           28                 •   General damages according to proof;
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                                 1            •   Special damages according to proof;
                                 2            •   Loss of earnings according to proof;
                                 3            •   Costs of suit incurred herein;
                                 4            •   Punitive damages according to proof as to Plaintiff’s negligence claim
                                 5               against Defendant; and,
                                 6            •   Any and all other relief the Court deems just and proper.
                                 7
                                 8 Dated: January 15, 2018                                           Respectfully submitted,
                                 9                                                        KAZEROUNI LAW GROUP, APC
                           10
                                                                                           By: ___/s/ Matthew M. Loker___
                           11
KAZEROUNI LAW GROUP, APC




                                                                                                 MATTHEW M. LOKER, ESQ.
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                           12                                                                     ATTORNEY FOR PLAINTIFF
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